                       Case 1:95-cr-05193-DAD Document 267 Filed 02/22/08 Page 1 of 1
O AO 247 (02/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                   for the
                                                       EASTERN District of CALIFORNIA

                     United States of America                        )
                                v.                                   )
                                                                     )   Case No: 1:95-CR-5193-002 AWI
                    STACEY RENA CANDLER
                                                                     )   USM No: 56919-097
Date of Previous Judgment: Nov. 4, 1996                              )   David Porter, Asst. Federal Defender
(Use Date of Last Amended Judgment if Applicable)                    )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of x the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 188 months  months is reduced to time served               .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    36                Amended Offense Level:                                            34
Criminal History Category: I                 Criminal History Category:                                        I
Previous Guideline Range:  188 to 235 months Amended Guideline Range:                                          151       to 188 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
x The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS

                     Stipulated to by the government.



Except as provided above, all provisions of the judgment dated               Nov. 4, 1996 shall remain in effect.
IT IS SO ORDERED.

Order Date:          February 22, 2008                                                    /s/ ANTHONY W. ISHII
                                                                                                  Judge’s signature


Effective Date: March 3, 2008                                                      Anthony W. Ishii, U. S. District Judge
                      (if different from order date)                                            Printed name and title
